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EXHIBIT 9
Case 2:10-cv-12094-LPZ-MKM ECF No. 21-10, PagelD.207 Filed 03/02/11 Page 2 of 2

__...Permission to Release School Records Form

| hereby authorize Cranbrook Kingswood School fo release to any institution of
learning such as schools, colleges, or universities (for use in any admission or
placement process); employer (whether present of prospective); governmental
agencies including the Social Security Administration and the Veterans
Administration: and physicians, hospital, medical, psychiatric or educational
consultants, any relevant information included in my school records, including but
not limited to academic transcripts, standardized test scores, attendance recards,
and school recommendations. This authorization shall remain in force until

specifically revoked by me in writing.

This authorization is granted for or by _ Macha el D upye? '
A student who was or is enrolled at Cranbrook Kingswood School.

4
Signature of parent or legal guardian: ly A tne (Lagat te
Date: heiz af G. OS

Signature of student:
(18 years of age Oe
Date of Birth 3/ Z of, LS Date:

Signature of student: thd Prod
F

Reconfirm at age 18

Please fax a copy of this form to the College Counseling Office at (248) 645-3081.

Then send original with signature to: College Counseling Office
PO Box 801
Bloomfield Hills, Mi 48303-0801

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